                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:09-cr-142
 vs.                                                )
                                                    )       JUDGE COLLIER
 NICHOLAS CHEATON                                   )


                               MEMORANDUM AND ORDER

         NICHOLAS CHEATON (“Defendant”) was present in court for an initial appearance
 before the undersigned on September 16, 2015 in accordance with Rule 32.1 of the Federal Rules
 of Criminal Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”).

         After being sworn in due form of law, Defendant was reminded of his privilege against
 self-incrimination under the 5th Amendment to the United States Constitution. Further,
 Defendant was reminded of his right to counsel under the 6th Amendment to the Constitution.
 The Court had previously appointed Attorney Scott Ray to represent Defendant with respect to
 the Criminal Complaint (Doc. 1:15-mj-262) filed against him, and Mr. Ray continued to
 represent Defendant with respect to the Petition. Defendant was furnished with a copy of the
 Petition, and had an opportunity to review such document with his attorney. The Court
 determined that Defendant was capable of being able to read and understand the Petition.

       The Government moved that Defendant be detained pending a hearing to determine
 whether his term of supervision should be revoked.

        Defendant asked for time to prepare for a preliminary hearing and detention hearing.
 The Court granted that request and scheduled both a preliminary hearing and detention hearing
 on Wednesday, September 30, 2015, at 2 p.m. On October 15, 2015, Defendant, through his
 counsel, filed a Waiver of Preliminary Hearing and Detention Hearing (Doc. 187).
 Consequently, such hearings were canceled.

         Based upon the Petition and Defendant=s waiver of preliminary hearing and detention
 hearing, the undersigned finds there is probable cause to believe the Defendant has committed
 violations of his conditions of supervised release as alleged in the Petition.

        It is, therefore, ORDERED:

        1. Defendant shall appear in a revocation hearing before U.S. District Judge
           Curtis L. Collier.

        2. The motion of the Government that Defendant be DETAINED WITHOUT

                                               1



Case 1:09-cr-00142-CLC-SKL           Document 193       Filed 01/27/16   Page 1 of 2    PageID
                                           #: 572
         BAIL pending his revocation hearing before Judge Collier is GRANTED.

      3. The U.S. Marshal shall transport Defendant to a revocation hearing before
         Judge Collier on a date to be determined by Judge Collier. The parties have
         requested the revocation hearing in this case to be set on the same date and
         time as the sentencing in Case No. 1:15-cr-98.

      Nunc Pro Tunc October 15, 2015.

      ENTER.

                                         s/Christopher H. Steger
                                         UNITED STATES MAGISTRATE JUDGE




                                            2



Case 1:09-cr-00142-CLC-SKL      Document 193       Filed 01/27/16     Page 2 of 2       PageID
                                      #: 573
